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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x

UNITED STATES OF AMERICA,                                            23-Cr-490 (SHS)

                  -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                    ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
---------------------------------------------------------------x
SIDNEY H. STEIN, U.S. District Judge.

        IT IS HEREBY ORDERED that:

         1.      The sentencing submission of each defendant is due on or before January 2, 2025;

       2.     The government's sentencing submission for each defendant is due on or before
January 9, 2025;

       3.     The sentencing of Fred Daibes is adjourned to January 29, 2025, at 9:30 a.m., the
sentencing of Wael Hana is adjourned to January 29, 2025, at 11 :00 a.m., and the sentencing of
Robert Menendez is adjourned to January 29, 2025, at 2:00 p.m.; and

        4.       The sentencings will take place in Courtroom 23A.


Dated: New York, New York
       September 23, 2024

                                                     SO ORDERED:




                                                                   y H. Stein, U.S.D.J.
